                                                  Case 5:13-cv-02054-EJD           Document 8       Filed 05/07/13      Page 1 of 1



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                                                                              IN THE UNITED STATES DISTRICT COURT
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                                           6                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           7
                                           8   THINK COMPUTER CORPORATION,                             No. CV 13-02054 HRL
                                           9                     Plaintiff,                            ORDER
                                          10      v.
For the Northern District of California




                                          11   DWOLLA, INC, ET AL,
    United States District Court




                                          12                     Defendant.
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                                          14   GOOD CAUSE APPEARING THEREFOR,
                                          15              IT IS ORDERED that this case is reassigned to the Honorable Edward J. Davila in the San
                                          16   Jose division for all further proceedings. Counsel are instructed that all future filings shall bear the
                                          17   initials EJD immediately after the case number. All dates presently scheduled are vacated and
                                          18   motions should be renoticed for hearing before the judge to whom the case has been reassigned.
                                          19   Briefing schedules remain unchanged. See Civil L.R. 7-7(d). Matters for which a magistrate judge
                                          20   has already issued a report and recommendation shall not be rebriefed or noticed for hearing before
                                          21   the newly assigned judge; such matters shall proceed in accordance with Fed. R. Civ. P. 72(b).
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                                          23                                                             FOR THE EXECUTIVE COMMITTEE:
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                                          25   Dated: May 7, 2013
                                                                                                         Richard W. Wieking
                                          26   rev 4-12                                                  Clerk of Court
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